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    EXHIBIT 1
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INRE:
INVESTIGATION OF

___________
JEFFREY EPSTEIN
                                   /

                        NQN-PROSECUTION AGREEMENT
       IT APPEARING that the City of Palm Beach Police Department and the State
Attorney's Office for the 15th Judicial Circuit in and for Palm Beach County (hereinafter,
the "State Attorney's Office") have conducted an investigation into the conduct of Jeffrey
Epstein (hereinafter "Epstein");

       IT APPEARING that the State Attorney's Office has charged Epstein by indictment
with solicitation of prostitution, in violation of Florida Statutes Section 796.07;

       IT APPEARING that the United States Attorney's Office and the Federal Bureau of
Investigation have conducted their own investigation into Epstein's background and any
offenses that may have been committed by Epstein against the United States from in or
around 2001 through in or around September 2007, including:

      (])    knowingly and willfully conspiring with others known and Wlknown to
             commit an offense against the United States, that is, to use a facility or means
             of interstate or foreign commerce to knowingly persuade, induce, or entice
             minor fema1es to engage in prostitution, in violation of Title 18, United States
             Code, Section 2422(b); all in violation ofTitle 18, United States Code, Section
             371;

      (2)    knowingly and willfully conspiring with others known and unknown to travel
             in interstate commerce for the purpose of engaging in illicit sexual conduct, as
             defined in 18 U.S.C. § 2423(t), with minor females, in violation of Title 18,
             United States Code, Section 2423{b); all in violation of Title 18, United States
             Code, Section 2423(e);

      (3)   using a facility or means of interstate or foreign commerce to knowingly
            persuade, induce, or entice minor females to engage in prostitution; in
            violation of Title 18, United States Code, Sections 2422(b) and 2;

     {4)    traveling in interstate commerce for the purpose of engaging in illicit sexual
            conduct, as defined in 18 U.S.C. § 2423{!), with minor females; in violation

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